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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RICKY WINFIELD SR.,                               )
                                                  )
                         Plaintiff,               )
                                                  )       Case No. 22-cv-03025
                                                  )
                v.                                )
                                                  )       Judge Sharon Johnson Coleman
DAVID BRUMFIELD,                                  )
                                                  )
                         Defendant.               )

                           MEMORANDUM OPINION AND ORDER

        Plaintiff Rickey Winfield Sr. filed his complaint against Defendant David Brumfield pursuant

to 42 U.S.C. § 1983, alleging Brumfield solicited another detainee to attack Winfield after an

argument between the parties over the upcoming Super Bowl matchup. Before the Court is

Brumfield’s motion for summary judgment [45] pursuant to Federal Rule of Civil Procedure 56(a).

For the following reasons, the Court denies the motion.

Initial Matters

         As an initial matter, the Court reviews the parties’ statements for compliance with Local

Rule 56.1, which “aims to make summary-judgment decisionmaking manageable for courts.” Kreg

Therapeutics, Inc. v. VitalGo, Inc., 919 F.3d 405, 415 (7th Cir. 2019). “Asserted facts may be deemed

admitted if not controverted with specific citations to evidentiary material.” Local Rule 56.1(e)(3)

(N.D. Ill.); see Edwards v. Maestro Food Co., No. 19 CV 8451, 2021 WL 4258976, at *1 (N.D. Ill. June 3,

2021) (Shah, J.).

        Here, Winfield’s failed to submit a response to Brumfield’s statement of material facts as

required by Local Rule 56.1(b)(3). Accordingly, the Court deems Brumfield’s facts admitted. See

Coleman v. Goodwill Indus. of Se. Wisconsin, Inc., 423 F. App'x 642, 643 (7th Cir. 2011) (affirming district

court in admitting defendant’s statement of facts where plaintiff failed to submit a paragraph-by-


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paragraph response to defendant’s proposed facts with citations to the record). Notwithstanding

these admissions, the Court construes Brumfield’s submissions, and the record evidence, in the light

most favorable to Winfield.

Background

       The following facts are undisputed. Plaintiff Rickey Winfield Sr. is a pretrial detainee in

custody of the Cook County Department of Corrections (“CCDOC”). Defendant David Brumfield

is a CCDOC correctional officer.

       Winfield testified in a deposition that on December 1, 2020, he discussed the upcoming

Super Bowl with Brumfield. Winfield believed that the Kansas City Chiefs would win the Super

Bowl whereas Brumfield believed the New England Patriots would win. Winfield testified that the

discussion escalated into an argument, and Brumfield made a threat to Winfield that he would solicit

another detainee to attack him. Shortly thereafter, while Winfield was on the phone, another

detainee doused Winfield with a mixture of hot chemicals, causing second degree burns and other

physical and mental injuries.

       CCODOC has a formal grievance policy. Individuals in custody of CCDOC have fifteen

days to grieve an incident. Once a response to a submitted grievance is issued by the CCDOC,

individual in custody have fifteen days to appeal the response. On December 1, 2020, the same day

of the incident, Winfield submitted a grievance regarding the incident after receiving medical

treatment. The grievance states:

       I was currently sitting on the phone talking to my family when another inmate boil hot
       koolaid mix with hair grease and magic shave and threw it the microwave and threw it on me
       intentionally[.] I’m suffering from pain and suffering and I’m also tramutized [sic] and afraid
       to be around any one near the microwave[.] I also suffer from second degree burns[.]

       Dkt. [45], Ex. 1 at ¶ 5. The grievance says nothing about Brumfield or the underlying facts

leading up to the attack. On December 31, Winfield received a response and appealed with

additional information about his injuries. The appeal stated:


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        I’m still suffering from second degree burn my skin on my chest will never be the same I’m
        also traumatized and afraid to be around people who boiling things in the microwave I even
        have bad dreams and wake up in cold sweats in my dream I relive the hold [sic] situation
        again[.]

        Id. at ¶ 5. Winfield’s appeal did not mention Brumfield or any discussions about football.

Winfield later filed the instant lawsuit. In his complaint, Winfield alleges that he discussed the Super

Bowl with Brumfield on December 1, 2020. Winfield further alleges that the conversation escalated

into a “heated argument” and that Brumfield threatened to have another detainee harm Winfield. Id.

at ¶ 21. Winfield describes the alleged attack and accuses Brumfield of telling Winfield’s alleged

assailant “I told you to fuck him up when I’m not on the tier.” Id. at ¶ 22. Winfield describes this as

the moment he realized that Brumfield “really took [Winfield’s] dislike for New England Patriots to

heart and this should have never happened because I am a Kansas City Chief fan.” Id. at ¶ 23.

Legal Standard

        Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

A genuine dispute as to any material fact exists if “the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In

determining summary judgment motions, “facts must be viewed in the light most favorable to the

nonmoving party only if there is a ‘genuine’ dispute as to those facts.” Scott v. Harris, 550 U.S. 372,

380 (2007). The party seeking summary judgment has the burden of establishing that there is no

genuine dispute as to any material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). After “a

properly supported motion for summary judgment is made, the adverse party ‘must set forth specific

facts showing that there is a genuine issue for trial.’ ” Anderson, 477 U.S. at 255 (quotation omitted).

Discussion

        “Federal courts lack discretion to consider a claim that has not traveled the required

administrative path.” Bowers v. Dart, 1 F.4th 513, 518 (7th Cir. 2021). For the purposes of a prisoner’s


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§ 1983 claim like Winfield’s, “there is no question that exhaustion is mandatory under the PLRA and

that unexhausted claims cannot be brought in court.” Jones v. Bock, 549 U.S. 199, 211, 127 S.Ct. 910,

166 L.Ed.2d 798 (2007). To properly exhaust administrative remedies, an inmate “must comply with

the specific procedures and deadlines established by the prison’s policy,” King v. McCarty, 781 F.3d

889, 893 (7th Cir. 2015), and their administrative grievance must give “notice of, and an opportunity

to correct” the alleged misconduct. Turley v. Rednour, 729 F.3d 645, 650 (7th Cir. 2013).

        The Seventh Circuit’s holding in Bowers v. Dart, 1 F.4th 513, 518 (7th Cir. 2021) is instructive.

In Bowers, the plaintiff filed a grievance that the officer on duty did not respond to his cries for help

during an attack by other inmates, but in his complaint alleged that three guards were aware of the

threat before the attack and did not act to stop it. Bowers, 1 F.4th at 518. The Seventh Circuit

affirmed the District Court’s finding that there was too great a “disconnect” between the allegations

in the grievance and complaint for the plaintiff to have properly exhausted his administrative

remedies. Id.

        Here, like in Bowers, Winfield’s allegations of wrongdoing by prison personnel were not

included in the original grievance. Winfield’s grievance did not give CCDOC notice of the

allegations in the complaint against Brumfield. In fact, it did not mention him or any incident with a

correctional officer. It painted a picture of an unprovoked attack by a fellow detainee rather than a

violation of Winfield’s constitutional rights by Brumfield. This grievance was plainly insufficient to

satisfy the exhaustion requirement.

        Because Winfield failed to satisfy the exhaustion requirement, the Court must determine if:

“(a) the plaintiff has failed to exhaust his administrative remedies, and so he must go back

and exhaust; (b) or, although he has not unexhausted administrative remedies,

the failure to exhaust was innocent ... and so he must be given another chance to exhaust (provided

that there exist remedies that he will be permitted by the prison authorities to exhaust, so that he's



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not just being given a runaround); or (c) the failure to exhaust was the prisoner's fault, in which

event the case is over.” Pavey v. Conley, 544 F.3d 739, 742 (7th Cir. 2008).

        Winfield argues that his failure was innocent because he “was only aware that [he] was

supposed to grieve the attack and ... not aware [he] was supposed to grieve what lead to the attack.”

Brumfield argues that the failure was Winfield’s fault because “nothing prevented him from

describing the incident in his grievance as he described the incident in his complaint,” or in his

appeal from the grievance response. While it is true that Plaintiff could have included the

information in the initial grievance, this Court recognizes that Plaintiff, as a pro se litigant, was not

aware of the specific requirements for the grievance procedure. Additionally, Defendant does not

dispute any of the actual substance of Plaintiff’s allegations of deposition testimony. Rather than

grant summary judgment because Plaintiff was unaware of the level of detail he was to provide in his

pleadings, this Court finds that waiver of the administrative remedies requirement to be more

appropriate.

Conclusion

        For the foregoing reasons, the Court denies Brumfield’s motion for summary judgment. An

in-person status hearing is set for August 30, 2024, to determine the parties’ next steps.

IT IS SO ORDERED.

Date: 8/2/2024

                                                  Entered: _____________________________
                                                           SHARON JOHNSON COLEMAN
                                                           United States District Judge




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